                                 Case 1:09-cv-00430-AWI-EPG Document 219 Filed 08/06/15 Page 1 of 5


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                            14                                     UNITED STATES DISTRICT COURT

                            15                                    EASTERN DISTRICT OF CALIFORNIA

                            16                                               FRESNO DIVISION

                            17

                            18   GERALD CARLIN, JOHN RAHM, PAUL                        Case No. 1:09 CV 00430-AWI-GSA
                                 ROZWADOWSKI and DIANA WOLFE,
                            19   individually and on behalf of themselves and          CLASS ACTION
                                 all others similarly situated,
                            20                                                         STIPULATION AND ORDER FOR
                                                             Plaintiffs,               AMENDING SCHEDULING ORDER
                            21
                                           v.
                            22                                                         Judge: Hon. Magistrate Judge Gary S. Austin
                                 DAIRYAMERICA, INC. and                                Action Filed: March 6, 2009
                            23   CALIFORNIA DAIRIES, INC.,

                            24                               Defendants.

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                                                                  STIPULATION FOR AMENDING THE SCHEDULING ORDER
                                 Case No. 1:09-CV-00430-AWI-GSA
                                 DWT 27489721v2 0090114-000001
                                 Case 1:09-cv-00430-AWI-EPG Document 219 Filed 08/06/15 Page 2 of 5


                             1            WHEREAS, on April 6, 2015, the Honorable Magistrate Judge Gary S. Austin approved

                             2   the parties’ joint scheduling statement [#208], and adopted the dates set forth in the joint

                             3   scheduling statement with modifications by ordering class certification discovery (including the

                             4   filing of any motions to compel) to be completed by July 20, 2015; and setting October 5, 2015 as

                             5   the last day for Plaintiffs to file their motion for class certification, with Defendant to file its

                             6   opposition by December 18, 2015, with Plaintiffs to file any reply brief by January 11, 2016, and

                             7   with a hearing on Plaintiffs’ motion for class certification to be heard on February 26, 2015;

                             8            WHEREAS the Court approved the parties’ stipulation to extend the deadline for the close

                             9   of class certification discovery to August 14, 2015 [#212];

                            10            WHEREAS, while the parties have completed a substantial amount of class and merits

                            11   discovery, including approximately 20 depositions, serious personal issues of one of Plaintiff’s
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                            12   lead attorneys has arisen and caused delays in fully completing class discovery;

                            13            WHEREAS the parties estimate that an additional eight weeks will allow them to

                            14   complete class certification discovery and agree that the existing schedule should be modified

                            15   accordingly;

                            16            Now, therefore, the parties hereto do stipulate as follows:

                            17            1.       Subject to Court approval, the case schedule shall now be as follows:

                            18                             October 14, 2015: close of class certification discovery

                            19                             December 7, 2015: Last day for Plaintiffs to file motion for class

                            20                              certification (and any accompanying expert disclosures, reliance materials,

                            21                              and data sets)

                            22                             February 26, 2016: Last day for Defendants to file opposition to Plaintiffs’

                            23                              motion for class certification

                            24                             March 21, 2016: Last day for Plaintiffs to file reply brief in support of

                            25                              motion for class certification

                            26                             To be supplied by Court: Hearing on motion for class certification
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                                                                  STIPULATION FOR AMENDING THE SCHEDULING ORDER
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                                 DWT 27489721v2 0090114-000001
                                 Case 1:09-cv-00430-AWI-EPG Document 219 Filed 08/06/15 Page 3 of 5


                             1   DATED: August 6, 2015                   Respectfully submitted,
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                                                              STIPULATION FOR AMENDING THE SCHEDULING ORDER; ORDER
                                 Case No. 1:09-CV-00430-AWI-GSA
                                 DWT 27489721v2 0090114-000001
                                 Case 1:09-cv-00430-AWI-EPG Document 219 Filed 08/06/15 Page 4 of 5

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                            21                                           Counsel for Plaintiffs and the Proposed Class

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                                                              STIPULATION FOR AMENDING THE SCHEDULING ORDER; ORDER
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                                 DWT 27489721v2 0090114-000001
                                 Case 1:09-cv-00430-AWI-EPG Document 219 Filed 08/06/15 Page 5 of 5


                             1                                                   ORDER

                             2           Based on the foregoing stipulation of the parties and good cause appearing, the Court

                             3   extends pre-certification scheduling dates as follows:

                             4
                                                                               PREVIOUS DATE                  NEW DATE
                             5
                                 Discovery cutoff (class certification)        August 14, 2015                November 13, 2015
                             6

                             7   Plaintiff’s motion for class                  October 5, 2015                January 8, 2016
                                 certification due
                             8
                                 Defendant’s opposition to motion for          December 18, 2015              March 21 2016
                             9   class certification due

                            10   Plaintiff’s reply brief due                   January 11, 2016               April 18, 2016

                            11

                            12   Class certification hearing                   February 26, 2016              May 27, 2016
DAVIS WRIGHT TREMAINE LLP




                            13                                                 Time: 9:30 a.m.                Time: 9:30 a.m.

                            14                                                 Dept.: 10                      Dept.: 10

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                                 IT IS SO ORDERED.
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                            18       Dated:     August 6, 2015                               /s/ Gary S. Austin
                                                                                    UNITED STATES MAGISTRATE JUDGE
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                                                              STIPULATION FOR AMENDING THE SCHEDULING ORDER; ORDER
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